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 6                                    UNITED STATES DISTRICT COURT
 7                                            DISTRICT OF NEVADA
 8                                                      *****
 9   UNITED STATES OF AMERICA,                           )
                                                         ) 3:12-CR-00038-LRH-VPC
10                                    Plaintiff,         )
                                                         ) ORDER
11   vs.                                                 )
                                                         )
12   LEONELA URBINA,                                     )
                                                         )
13                                    Defendant.         )
                                                         )
14
15           Before the court is the Government’s Motion to Revoke the Magistrate’s Order to Release
16   Defendant, Leonela Urbina, Pending Trial (#1121 ), the Defendant’s opposition to the motion
17   (#117), and the Government’s reply to Defendant’s opposition (#118). Additionally, the court
18   has obtained transcripts of the Defendant’s detention hearing before the Magistrate Judge on June
19   7, 2012, and the Defendant’s Motion to Reopen Detention Hearing on September 19, 2012. The
20   court has conducted its de novo review of the evidence before the Magistrate Judge and makes its
21   independent determination that there is a preponderance of the evidence that the Defendant poses
22   a flight risk and that the Defendant should be detained in custody.
23           The court notes that the Defendant is charged in a superseding indictment with co-
24   defendants and is charged with violations of Title 21 U.S.C. § 841(a)(1), (b)(1)(A)(viii) and 846
25   – Conspiracy to Possess with Intent to Distribute and Distribute Methamphetamine (Count One);
26   a violation of Title 21 U.S.C. § 843(b) – Illegal Use of a Communication Facility (Count Two);
27   and a violation of Title 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(viii) – Possession with Intent to
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                 Refers to the court’s docket number.
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 1   Distribute Methamphetamine (Count Three).
 2           The Defendant was arrested in San Jose, California, on April 25 2012, appeared before
 3   the Magistrate Judge in that district on May 4, 2012, was ordered detained and was subsequently
 4   extradited to the District of Nevada. She was arraigned before the District of Nevada Magistrate
 5   Judge on June 7, 2012. At that time, the Magistrate Judge conducted a continued detention
 6   hearing and Defendant was ordered detained. On September 19, 2012, a hearing was held upon
 7   Defendant’s Motion to Reopen Detention Hearing and the Magistrate Judge granted Defendant
 8   pre-trial release subject to admission and treatment in a particular drug treatment program, as
 9   well as with other conditions. The Government filed its motion shortly thereafter challenging the
10   Defendant’s release and the Magistrate Judge entered a stay of his decision (#120) pending a
11   decision upon the Government’s motion to revoke before this court.
12           The Defendant is charged in Count One with an offense which carries a potential
13   maximum life sentence in prison and a ten-year mandatory minimum prison sentence. In such a
14   case, there is a rebuttable presumption that there are no conditions or combination of conditions
15   that will ensure both the appearance of the Defendant at trial and the safety of the community.
16   Title 18 U.S.C. §3142(e).
17           An important factor in the court’s consideration is the history and characteristics of the
18   Defendant. This defendant lacks community ties, has weak family ties, a lack of steady
19   employment and employment history, and also demonstrates a recent criminal history in the state
20   of Nevada. Her only tie to the District of Nevada is her state conviction in 2010 for the gross
21   misdemeanor offense of Conspiracy to Possess Methamphetamine, following an arrest and
22   charges for drug trafficking.
23           It appears that the Defendant was not candid with Pretrial Services officers as to where
24   she lived in California. Her California driver’s license was recovered with an East Palo Alto
25   address. However, the Defendant’s sister and mother both denied knowing that the Defendant
26   lived at the East Palo Alto address. She was found at another address, in San Jose, California,
27   where close to half a pound of methamphetamine was recovered. According to the Defendant’s
28   May 9, 2012 Pretrial Services Report, the Defendant’s family ties are weak. Her mother advised

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 1   that the Defendant did not regularly keep in touch with her family and no family member has
 2   appeared on behalf of Defendant at either her second or third detention hearing.
 3           The Defendant has cited drug addiction as a grounds in favor of pre-trial release to a drug
 4   treatment program in Fallon, Nevada. However, in her first two interviews with Pretrial
 5   Services, the Defendant denied any use of drugs and Pretrial Services acknowledged that
 6   Defendant “has not been candid” as to her drug use. For the first time after close to five months
 7   in custody, the Defendant complained of suffering from drug abuse and physical abuse. There
 8   has been no collaboration of drug use by the Defendant by any of her family members who were
 9   interviewed by Pretrial Services.
10           As an additional, although less important factor, the Magistrate Judge has noted that the
11   evidence is “overwhelming” against the Defendant in the case. This includes approximately one
12   half pound of methamphetamine found in a shed at the premises to which Defendant had the key
13   to the lock, the seizure of a macaroni and cheese box containing thirteen thousand dollars
14   ($13,000) (in the background of a history of unemployment), and numerous intercepted calls
15   between Defendant and her husband that, in code, related to drug distribution.
16           Given the gravity of the crimes charged against the Defendant, her lack of stable
17   residential and employment history, her prior criminal record and numerous inconsistent
18   statements pertaining to the very grounds upon which she had sought to reopen consideration of
19   pretrial release, the court concludes that the presumption against pre-trial release set forth in Title
20   18 U.S.C. § 3142(e) has not been overcome. This Defendant poses a flight risk and there are no
21   conditions or combination of conditions to warrant release under §3142(e).
22           GOOD CAUSE APPEARING, the Government’s motion (#112) is GRANTED and
23   release is DENIED.
24           IT IS SO ORDERED.
25           DATED this 23rd day of October, 2012.
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27                                                               _______________________________
                                                                 LARRY R. HICKS
28                                                               UNITED STATES DISTRICT JUDGE


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